Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 1 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE () Sd

Simone Joachim-Arnaud, As Personal *-
Representative of the Estate of
Jimmy Joachim-Arnaud, Deceased,

 

 

Plaintiff,
VS. )
)
West Caribbean Airways, S.A., a Colombian )
corporation, et al., ) FILED D.C.
) INTAKE
Defendants. ) J AN { 6 2007
SUMMONS IN A CIVIL CASE CLARENCE MADDOX
CLERK U.S. DIST. CT.
S.D. OF FLA, - MIAM!

 

 

 

To: (name and address of defendant)

WEST CARIBBEAN AIRWAYS, S.A.

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

An answer to the complaint which is herewith served upon you, within ZO days after service of this summons upon
you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the relief
demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable period of

time after service. JAN 1 6 2007

Ciarence Maddox

 

 

 

DATE

  

 

(BY) DEPUTY CLERK

 
 
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 2 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

Simone Joachim-Arnaud, As Personal Q “ - 2 Q) Li Y
Representative of the Estate of )

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) Jka

 

Jimmy Joachim-Arnaud, Deceased,

 

 

 

Plaintiff,
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vs. ATOR:
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
)
Defendants. )
FILED b ]
INTAKE y Dc.
SUMMONS IN A CIVIL CASE
JAN 16 2007
To: (name and address of defendant)
CLARENCE MADDOX
CLERK U.S. DIST. CT.
MK AVIATION, S.A. SD OF FLA. — MIAMI
Edilficio Vallarino
Calle 52 y Elvira Mendez

Apartado 0819-09791
Panama City, Panama

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
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Ciarence Maddox

 

 

 

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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 3 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NQ. a

     

Simone Joachim-Arnaud, As Person)
Representative of the Estate of

)
Jimmy Joachim-Arnaud, Deceased, ' u iV j O RD I

 

Plaintiff, [TORRED
) ,
vs. )
)
West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
) FILED by C.
Defendants. ) INTAKE
SUMMONS IN A CIVIL CASE JAN 16 2007
cuaeuce aon
To: (name and address of defendant) CLERK 1S, DIST. CT.

 

 

 

MKA CAPITAL, INC.

c/o JOHN FURUTANI

911 E. Colorado Blvd, Suite 310
Pasadena, CA 91106

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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DATE

 

 

(BY) DEPUTY CLERK
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 4 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

Oe i
Simone Joachim-Arnaud, As Personal 4&7 % = QO 1 tg
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Representative of the Estate of

 

Jimmy Joachim-Arnaud, Deceased, >) dhe . be bee.
) ULV - JUiiiia.,
Plaintiff, 4 TORK ES
vs. )
)
West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
)
Defendants. ) TAKS. D.C.
SUMMONS IN A CIVIL CASE JAN | 6 2007
To: (name and address of defendant) CLARENCE MADDOX
Ss.
S.D_OF FLAS MIAMI

 

 

 

MK LEASING U.S.A., LTD.
14330 Midway Road
Dallas, Texas 75244

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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time after service.

Clarence Maddox JAN 16 2007

CLE DATE

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(BY) DEPUTY CLERK
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 5 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 
  

 

 

MIAMI DIVISION
CASE CG fd yA gs
Simone Joachim-Arnaud, As Personal >” yr ae
Representative of the Estate of ) eer eee
Jimmy Joachim-Arnaud, Deceased, ) CiY - J ORDAN
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Plaintiff, ) LTORRES
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vs. )
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
)
Defendants. )
SUMMONS IN A CIVIL CASE

CLARE
Cc

LERK
$.D.0

To: (name and address of defendant)

 

MK AVIATION U.S.A., INC.

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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(BY) DEPUTY CLERK
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 6 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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Simone Joachim-Arnaud, As Personal )
Representative of the Estate of )
Jimmy Joachim-Arnaud, Deceased, )
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Plaintiff, ) f <ORR ay
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vs. )
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., ) — .
) FILED by c
INTAKE ,
Defendants. )
JAN 16 2007
SUMMONS IN A CIVIL CASE
CLARENCE MADDOX
Cc
To: (name and address of defendant) SDOF FACS ST

 

 

 

MORDECHAY KRASELNICK
9801 Collins Avenue, 14U
Bal Harbour, Florida 33154-1830

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 7 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

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Simone Joachim-Arnaud, As Personal QO ¢ = a0 1

 

 

Representative of the Estate of ) REIN ET wes eek.
Jimmy Joachim-Arnaud, Deceased, ) CIV KG QED A | ‘
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Plaintiff, ) l TORREY
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vs. )
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., ) FILED D.C.
) INTAKE
Defendants. ) JAN 16 2007
SUMMONS IN A CIVIL CASE CLARENCE MADDOX
CLERK US. DIST. CT.
S$ D_OF FLA, - MIAMI

 

 

 

To: (name and address of defendant)

GLOBE-TROTTERS DE RIVIERE SALEE TRAVEL
50, rue Schoelcher 97215

Riviére Salée

Martinique

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

An answer to the complaint which is herewith served upon you, within 20 days after service of this summons upon
you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the relief
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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 8 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

Simone Joachim-Arnaud, As Personal 0 7
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Representative of the Estate of
Jimmy Joachim-Arnaud, Deceased,

) IV-JORDAN
Plaintiff, ) C JOR
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vs. (TORRES
West Caribbean Airways, S.A., a Colombian )
corporation, et al., ) FILED D .
) INTAKE 6.
Defendants. )
JAN 16 2007
SUMMONS IN A CIVIL CASE
CLARENCE MADDOX
To: (name and address of defendant) SD.OF FLA. MiAMi

 

 

 

VALERIE CVRK

Globe-Trotters De Riviére Salée Travel
50, rue Schoelcher 97215

Riviére Salée

Martinique

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 9 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

Simone Joachim-Arnaud, As Personal QO ( y >) 11 q Q

Representative of the Estate of
Jimmy Joachim-Arnaud, Deceased,

 

Plaintiff,

West Caribbean Airways, S.A., a Colombian
corporation, et al.,

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vs. )
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Defendants.

SUMMONS IN A CIVIL CASE
To: (name and address of defendant)

SAMIR CVRK

Globe-Trotters De Riviére Salée Travel
50, rue Schoelcher 97215

Riviére Salée

Martinique

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FILED Jt:

INTAKE
JAN 16 2007

CLARENCE MADDOX
CLERK US. DIST. CT.
SD, OF FLA, - MIAMI

 

 

 

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 10 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

Simone Joachim-Arnaud, As Personal O'¢ qc 2

 

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Representative of the Estate of )
Jimmy Joachim-Arnaud, Deceased, )
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Plaintiff, ) {TOR R Eg
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vs. ) a
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
) FILED by
Defendants. ) INTAKE
SUMMONS IN A CIVIL CASE JAN 16 2007
SRN Manno
To: (name and address of defendant) | Soorfem 1ST. gt

 

 

JACQUES M. CIMETIER, SR.
45 E. Sheridan Street, Suite B
Dania, Florida 33004

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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(BY) DEPUTY CLERK
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 11 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.

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Simone Joachim-Arnaud, As Personal g oe O 1 1 Ly
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Representative of the Estate of

 

  
      

Jimmy Joachim-Arnaud, Deceased, )
») CTy.
Plaintiff, ) JORD AN
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vs. ) .
) / TORRE .
West Caribbean Airways, S.A., a Colombian ) :
corporation, et al., ) FILED by D.C.
) INTAKE
Defendants. )
JAN 16 2007
SUMMONS IN A CIVIL CASE CLARENCE MADDOX
CLERK US. DIST. CT.
§.D. OF FLA. — MIAMI

 

 

To: (name and address of defendant)

NEWVAC CORPORATION
45 E. Sheridan Street, Suite B
Dania, Florida 33004

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
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Clarence Maddox _ JAN 16 2007

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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 12 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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CASE N

 
 
 

 

Simone Joachim-Arnaud, As Personal )
Representative of the Estate of ) C
Jimmy Joachim-Arnaud, Deceased, ) |
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Plaintiff, )
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corporation, et al., )
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Defendants. ) FILED by ps]
INTAKE
SUMMONS IN A CIVIL CASE

JAN 16 2007

CLARENCE MADDOX
CLERK U.S. DIST. CT.
S.D_OF FLA. MIAMI

To: (name and address of defendant)

 

 

 

GO 2 GALAXY, INC.
C/O Jacques Cimetier, Sr.
1100 Lee Wagener

Fort Lauderdale, FL 33315

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

An answer to the complaint which is herewith served upon you, within 2 days after service of this summons upon
you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the relief
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CligpsRee Maddox JAN 1°6 2007
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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 13 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

 

CASE (
Simone Joachim-Arnaud, As Personal 3

 

Representative of the Estate of )
Jimmy Joachim-Arnaud, Deceased, ) C « J
) GIV- JORDAN
Plaintiff, )
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VS. ) 5
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West Caribbean Airways, S.A., a Colombian )
corporation, et al., )
) FILED by D
Defendants. ) INTAKE |
SUMMONS IN A CIVIL CASE JAN 16 2007
CLARENCE MAD
To: (name and address of defendant) SUFRKUS DIST. Gr

 

 

THE AERONAUTICS OF ASTRONAUTICS SERVICES, U.S.A., INC

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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(BY) DEPUTY CLERK
Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 14 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

    

CASE FX.

 
 
  

 

Simone Joachim-Arnaud, As Personal ) C
Representative of the Estate of ) I V
Jimmy Joachim-Arnaud, Deceased, ) J ORD AN
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Plaintiff, )
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vs. )
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West Caribbean Airways, a Colombian corporation, _) o
FILED by CC.
et al., TARE
Defendants. / JAN 16 2007
SUMMONS IN A CIVIL CASE CLARENCE MADDOX
SiS OF ELA. MIAMI

 

 

 

To: (name and address of defendant)

SANCON RESOURCES RECOVERY, INC.
6100 Neil Road Suite 500
Reno, Nevada 89511

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson, Esquire
Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465

Telephone: (843) 216-9000
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Clarence Maddox JAN 16 2007
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Case 1:07-cv-20119-DMM Document 2 Entered on FLSD Docket 01/16/2007 Page 15 of 15

AO 440 (Rev. 10/2002) Summons in a Civil Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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CASE 0
Simone Joachim-Arnaud, As Personal

C1V- JORDAN

Representative of the Estate of

Jimmy Joachim-Arnaud, Deceased,
Plaintiff, [: ‘OB ES
vs. nnn

West Caribbean Airways, S.A., a Colombian

 

INTAKE

JAN 16 2007

SUMMONS IN A CIVIL CASE CLARENCE MADDOX
CLERK U.S. DIST. CT.
S.D_OF FLA. — MIAMI

corporation, et al.,

New Nome? Nee’ New Nem” Nee” Nee” Ne Nee’ Nee” Nene

Defendants.

 

 

To: (name and address of defendant)

ASEGURADORA COLSEGUROS, S.A.
Carrera 13A No. 29-24 Piso 19

Santafe de Bogota DC

Columbia

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address):

Robin R. Anderson

Florida Bar No. 748811

28 Bridgeside Boulevard (29464)
Post Office Box 1792

Mt. Pleasant, SC 29465
Telephone: (843) 216-9000
Facsimile: (843) 216-9440

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time after Seven ddox
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